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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN      :
  CURRENTLY RESIDING IN NORTH             :
  CAROLINA, BY AND THROUGH NEXT           :                 CIVIL ACTION NO. 3:22-CV-49
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,        :
                                          :
       Plaintiffs,                        :
                                          :
  v.                                      :
                                          :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                 :
                                          :
       Defendants,                     :
                                        :
  and                                   :
                                        :
  UNITED STATES SECRETARY OF STATE      :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL          :
  LLOYD AUSTIN,                        :
                                       :
       Nominal Defendants.            :

  ------------------------------------X

        PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT
        OF OPPOSITION TO DEFENDANTS JOSHUA AND STEPHANIE MAST’S
            MOTION TO MODIFY THE COURT’S PROTECTIVE ORDER

         Plaintiffs, by their undersigned counsel, respectfully provide the Court with notice of

  supplemental authority in support of their opposition (ECF No. 137) to Defendants Joshua and

  Stephanie Mast’s Motion to Modify the Court’s Protective Order (ECF No. 130).
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         The Masts’ Motion asks the Court to modify its Protective Order (ECF No. 26) by lifting

  the requirement that Plaintiffs proceed by pseudonyms.

         On February 16, 2023, the Court of Appeals of Virginia entered two orders in a related

  case1 that are relevant to the Masts’ Motion: (1) an order granting the Does’ request to amend the

  case caption so as to replace the parties’ names with initials (Exh. 1), and (2) an order sealing the

  record of the appeal (Exh. 2). In the first order, the Court of Appeals held “that it is appropriate

  to allow the parties to proceed under their initials, especially given that [the Does] assert that the

  danger flowing from identification affects not only themselves but also family members who are

  not parties to the underlying litigation.” Exh. 12 at 2. In so holding, the Court rejected the

  argument made by Joshua and Stephanie Mast that “they would be ‘highly prejudice[ed]’ by

  allowing the proceedings to go forward anonymously, because petitioner’s names have been

  used in media and social media while respondents ‘continue to enjoy the cloak of

  pseudonymity.’” Id. In the second order, the Court held that the parties “face a risk of harm if

  their identities become public,” and that “the need to protect the parties’ identities is a

  compelling interest, and no measure other than a protective order reasonably can protect these

  interests.” Exh. 2 at 2. Thus, the Court ordered that the record on appeal be sealed.




  1
    The case before it was the Masts’ attempt to pursue an interlocutory appeal of the Fluvanna
  Circuit Court’s November 30, 2022 “Order Denying Pleas in Bar and Certifying for Interlocutory
  Appeal Pursuant to Va. Code § 8.01-675.5(A).” In addition to ruling that pseudonyms should be
  used and that the record should be sealed, the Court of Appeals dismissed the Masts’ petition for
  interlocutory appeal on jurisdictional grounds.
  2
    Exhibit 1 has been redacted such that the caption reveals only the parties’ initials, as ordered by
  the Court of Appeals.

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  February 21, 2023                        Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 21st day of February 2023, I electronically filed the foregoing

  with the Clerk of the Court using the CM/ECF system, which will send a notification of such filing

  to all CM/ECF participants.


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